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                                                                          FILED
                                                              United States Court of Appeals
                       UNITED STATES COURT OF APPEALSEALS
                                                     E                Tenth Circuit

                               FOR THE TENTH CIRCUIT                               May 10, 2017
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                                                                                Elisabeth A. Shumaker
                                                                                    Clerk of Court
  JENNIFER MONTOYA; JOHN C.
  MONTOYA,

        Plaintiffs - Appellants,

  v.                                                           No. 17-2051
                                                  (D.C. No. 2:16-CV-00386-MCA-SMV)
  NEW MEXICO INSTITUTE OF MINING                                (D. N.M.)
  AND TECHNOLOGY BOARD OF
  REGENTS; LEONARD GARCIA,

        Defendants - Appellees.
                        _________________________________

                                        ORDER
                           _________________________________

        This matter is before the court on the parties’ Stipulation of Dismissal, which is

  construed as a motion for voluntary dismissal pursuant to Fed. R. App. P. 42(b).

        Upon consideration and as construed, the motion is granted. 10th Cir. R.

  27.4(A)(9).

        A copy of this order shall stand as and for the mandate of the court.


                                               Entered for the Court
                                               ELISABETH A. SHUMAKER, Clerk




                                               by: Jane K. Castro
                                                   Counsel to the Clerk
